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 1                                                                     The Honorable Lauren King

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                               UNITED STATES DISTRICT COURT
10                            WESTERN DISTRICT OF WASHINGTON
                                        AT SEATTLE
11
     STATE OF WASHINGTON, et al.,                         Case No. 2:25-cv-00244
12
            Plaintiffs,                                   [PROPOSED] BRIEF OF THE STATE OF
13                                                        ALABAMA AS AMICUS CURIAE IN
                    v.                                    OPPOSITION TO PLAINTIFFS’ MOTION
14                                                        FOR TEMPORARY RESTRAINING
     DONALD J. TRUMP, in his official capacity as         ORDER
15   President of the United States of America, et al.,

16          Defendants.

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     ALABAMA IN OPPOSITION TO TEMPORARY                                                 5238 Outlet Dr.
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 1                    INTRODUCTION AND INTEREST OF AMICUS CURIAE
 2            Alabama has seen this playbook before. In 2022, shortly after the State legislature

 3   prohibited pediatric sex-change procedures, plaintiffs brought a carefully curated evidentiary

 4   record to federal court and asked for an emergency injunction. They promised that “gender-

 5   affirming care” is “lifesaving” and that the “World Professional Association for Transgender

 6   Health” (WPATH) used the “best available science” to develop the “standard of care.” See Plfs’

 7   PI Mem., Boe v. Marshall, No. 2:22-cv-184 (M.D. Ala. 2022), Doc.8 at 12-13, 16. The district

 8   court believed them. While acknowledging that “[k]nown risks” of transitioning treatments

 9   “include loss of fertility and sexual function,” the court preliminarily enjoined enforcement of

10   Alabama’s law because “WPATH recognizes transitioning medications as established medical

11   treatments and publishes a set of guidelines for treating gender dysphoria in minors with these

12   medications.” Eknes-Tucker v. Marshall, 603 F. Supp. 3d 1131, 1139, 1151 (M.D. Ala. 2022),

13   rev’d sub nom. Eknes-Tucker v. Governor of Ala., 80 F.4th 1205 (11th Cir. 2023), reh’g en banc

14   denied, 114 F.4th 1241 (11th Cir. 2024).

15            Alabama then sought and obtained court-ordered discovery from WPATH to test the

16   court’s deference. 1 Doing so unveiled a tragic medical scandal. Internal documents from WPATH

17   showed that the organization crafted its Standards of Care 8 as “a tool for our attorneys to use in

18   defending access to care.” 2 Its evidence-review team “found little to no evidence about children

19   and adolescents.” 3 Some SOC-8 authors opted out of the evidence-review process entirely due to

20   “concerns, echoed by the social justice lawyers we spoke with, … that evidence-based review

21
     1
22     See Order, Boe, 2:22-cv-184 (M.D. Ala. Mar. 27, 2023), Doc.263.
     2
       Defs’ Ex. 181 at 75, Boe, 2:22-cv-184 (M.D. Ala.), Doc.700-10.
23   Throughout this brief, Alabama will reference evidence it submitted to the court in Boe. Citations
     will be by exhibit number followed by the docket entry in parenthesis and the internal page number
24   following the colon. E.g., Ex.181(Doc.700-10):75. Exhibits are available online:
     https://www.alabamaag.gov/boe-v-marshall/.
25   3
       Ex.173(Doc.560-23):22.
26

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 1   reveals little or no evidence and puts us in an untenable position in terms of affecting policy or

 2   winning lawsuits.” 4 And Admiral Rachel Levine, the former Assistant Secretary for Health at

 3   HHS, demanded that WPATH remove all age limits for chemical treatments, chest surgeries, and

 4   even surgeries to remove children’s genitals from SOC-8. After some initial consternation “about

 5   allowing US politics to dictate international professional clinical guidelines,” 5 WPATH obliged.

 6            Plaintiffs tell the Court none of this, even though their experts Dr. Shumer and Dr.

 7   Antommaria are also witnesses in Alabama’s case. Nor do they mention the independent review

 8   commissioned by England’s National Health Service to study the safety and efficacy of pediatric

 9   transitioning treatments. 6 The verdict? Dr. Hilary Cass, the pediatrician who led the review, put it

10   this way: “I can’t think of another area of paediatric care where we give young people a potentially

11   irreversible treatment and have no idea what happens to them in adulthood.” 7 No wonder countries

12   in the UK and Europe are restricting minors’ access to the “treatments.” See Lavietes, Britain Bans

13   Puberty     Blockers    for    Transgender     Minors,    NBC      NEWS       (Dec.     11,    2024),

14   https://perma.cc/3Q4SNV8E; Ghorayshi, Scotland Pauses Gender Medications for Minors, N.Y.

15   TIMES (Apr. 18, 2024), https://perma.cc/4YV6- FCX5 (reporting that Scotland became “the sixth

16   country in Europe to limit” access).

17            Nor do Plaintiffs tell the Court what every systematic evidence review has found: only low

18   or very-low quality evidence yielding “considerable uncertainty.” 8 That conclusion is not likely to

19   change soon. In October, the head of a large, NIH-funded study admitted to finding that “[p]uberty

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21   4
       Ex.174(Doc.560-24):1-2.
22   5
       Ex.186(Doc.700-15):32.
     6
23     Cass Review (2024), https://perma.cc/3QVZ-9Y52.
     7
       Abbasi, “Medication is Binary,” BMJ (Apr. 2024), https://perma.cc/KUM3-XL2S.
24   8
       See Miroshnychenko et al., Puberty Blockers for Youth Experiencing Gender Dysphoria,
25   ARCH. OF DISEASE IN CHILDHOOD (Jan. 24, 2025), https://perma.cc/U3CC-MNCX;
     Miroshnychenko et al., Gender-Affirming Hormone Therapy for Individuals With Gender
26   Dysphoria, ARCH. OF DISEASE IN CHILDHOOD (Jan. 24, 2025), https://perma.cc/6SUU-GZ7D.

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 1   blockers did not lead to mental health improvements”— then told the New York Times that she has

 2   not published the results because she does not want the findings “to be weaponized.” 9

 3            Annelou de Vries, a seminal researcher in the field who both Dr. Antommaria and Dr.

 4   Shumer cite throughout their reports, went further. Tacitly admitting the truth of “the critique that

 5   there is insufficient evidence,” she recently wrote to “question” the “normative assumption” that

 6   the interventions “must necessarily result in ‘effective’ outcomes in order to be considered

 7   legitimate and essential care.” 10 She suggested that the care instead be “provided and justified on

 8   the basis of personal desire and autonomy,” “effectiveness” be measured by how well the

 9   interventions “help individuals achieve their embodiment goals,” and any “experience of regret”

10   be welcomed as “inherent to all lives.” 11

11            Plaintiffs echo the recasting, carefully emphasizing self-reported “rates of satisfaction”

12   rather than claiming what evidence reviews disprove: that transitioning treatments significantly

13   improve psychological health and overall functioning. See Mot.4. They also rely on the misleading

14   claim that “[p]uberty blockers do not permanently impair fertility,” id., without informing the

15   Court that nearly all children who start on puberty blockers to treat gender dysphoria then take

16   cross-sex hormones—and the combination can permanently impair fertility, as Dr. Shumer

17   admits. 12 And how could it not? As Dr. Shumer said, “progressing through natural puberty is a

18   requirement for fertility.” 13

19            Then there is the risk of suicide, which Plaintiffs wield as a cudgel: grant the injunction or

20   “transgender children will die.” Mot.1. As the lead attorney challenging Tennessee’s restrictions

21
     9
22     Ghorayshi, U.S. Study on Puberty Blockers Goes Unpublished Because of Politics, N.Y. TIMES
     (Oct. 23, 2024), https://perma.cc/8M5A-4M3W.
23   10
        Oosthoek, de Vries, et al., Gender-affirming Medical Treatment for Adolescents, 25 BMC
24   MEDICAL ETHICS 154 (2024), https://perma.cc/8W4R-CEG7.
     11
        Id.
25   12
        See Ex.39(Doc.564-25):121:5-20, 153:13–158:15.
26   13
        Ex.39(Doc.564-25):150:1-7.

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 1   on pediatric sex-change procedures recently told the Supreme Court, “there is no evidence … that

 2   this treatment reduces completed suicide.” Tr.88, United States v. Skrmetti, No. 23-477 (U.S. Dec.

 3   4, 2024). 14 But too many parents are familiar with the threat, having “consented” to sex-change

 4   procedures after being told that “You can either have a living son or a dead daughter.” 15 Given the

 5   vulnerability of this young patient population, it’s a wonder these suggestions haven’t already

 6   become self-fulfilling prophecy—which cynical advocates would then use to further “affect[]

 7   policy” and “win[] lawsuits.”

 8          Minors suffering from gender dysphoria deserve better. Alabama submits this brief to tell

 9   the Court just some of what it learned about WPATH after peeking behind the curtain. Plaintiffs’

10   reliance on WPATH is reason to reject their request for emergency relief, not reason to grant it.

11                                             ARGUMENT

12   I.     WPATH Crafted SOC-8 As A Political And Legal Document.

13          WPATH published Standards of Care 8 (SOC-8) in September 2022. Dr. Eli Coleman, a

14   sexologist at the University of Minnesota, chaired the guideline committee, and WPATH hired an

15   outside evidence-review team, led by Dr. Karen Robinson at Johns Hopkins University, to conduct

16   systematic evidence reviews for authors to use in formulating their recommendations. 16 Two

17   WPATH presidents, Dr. Walter Bouman, a clinician at the Nottingham Centre for Transgender

18   Health in England, and Dr. Marci Bowers, a surgeon in California who has performed over 2,000

19   transitioning vaginoplasties, oversaw development and publication of the guideline.

20

21

22
     14
        See also Cass Review, supra note 6, at 33 (“It has been suggested that hormone treatment
23   reduces the elevated risk of death by suicide in this population, but the evidence found did not
     support this conclusion.”).
24   15
        Affidavit of Jamie Reed ¶39 (Feb. 7, 2023), https://perma.cc/QE9Q-K2QP.
25   16
        WPATH, SOC8 Contributors, https://perma.cc/X48V-9T8K; E. Coleman et al., Standards of
     Care for the Health of Transgender & Gender Diverse People, Version 8, 23 INT’L J. OF
26   TRANSGENDER HEALTH S248-49 (2022), https://perma.cc/Y9G6-TP3M.

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 1          A.      WPATH Used SOC-8 to Advance Political and Legal Goals.

 2          WPATH selected 119 authors—all existing WPATH members—to contribute to SOC-8. 17

 3   According to Dr. Bowers, it was “important” for each author “to be an advocate for [transitioning]

 4   treatments before the guidelines were created.” 18 Many authors regularly served as expert

 5   witnesses to advocate for sex-change procedures in court; Dr. Coleman testified that he thought it

 6   was “ethically justifiable” for those authors to “advocate for language changes [in SOC-8] to

 7   strengthen [their] position in court.” 19 Other contributors seemed to concur. One wrote: “My hope

 8   with these SoC is that they land in such a way as to have serious effect in the law and policy

 9   settings that have affected us so much recently; even if the wording isn’t quite correct for people

10   who have the background you and I have.” 20 Another chimed in: “It is abundantly clear to me

11   when I go to court on behalf of TGD [transgender and gender-diverse] individuals” that “[t]he

12   wording of our section for Version 7 has been critical to our successes, and I hope the same will

13   hold for Version 8.” 21

14          Perhaps for this reason—and because it knew that “we will have to argue it in court at some

15   point” 22—WPATH commissioned a legal review of SOC-8 and was in regular contact with

16   movement attorneys. 23 Dr. Bouman noted the oddity: “The SOC8 are clinical guidelines, based on

17   clinical consensus and the latest evidence based medicine; [I] don’t recall the Endocrine Guidelines

18   going through legal reviews before publication, or indeed the current SOC?” 24 The WPATH

19   Executive Committee discussed various options for the review—“ideas; ACLU, TLDEF, Lambda

20

21   17
        SOC-8, supra note 16, at S248-49; see Ex.21(Doc.700-3):201:2–223:24.
22   18
        Ex.18(Doc.564-8):121:7-11.
     19
23      Ex.21(Doc.700-3):158:17-25.
     20
        Ex.184(Doc.700-13):24.
24   21
        Ex.184(Doc.700-13):15.
     22
25      Ex.182(Doc.700-11):152.
     23
        Ex.4(Doc.557-4):vi.
26   24
        Ex.182(Doc.700-11):151.

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 1   Legal…” 25—before apparently settling on the senior director of transgender and queer rights at

 2   GLAD to conduct the review. 26

 3           Authors were explicit in their desire to tailor SOC-8 to ensure coverage for an “individual’s

 4   embodiment goals,” 27 whatever they might be. As Dr. Dan Karasic, one of the plaintiffs’ experts

 5   in Alabama’s case, explained to other contributors: “Medical necessity is at the center of dozens

 6   of lawsuits in the US right now”; 28 “I cannot overstate the importance of SOC 8 getting this right

 7   at this important time.” 29

 8           WPATH thus included a whole section in SOC-8 on “medical necessity.” 30 It also made

 9   sure to sprinkle the “medically necessary” moniker throughout the guideline, even when doing so

10   revealed it had put the cart before the horse. The adolescent chapter, for instance, notes that “[a]

11   key challenge in adolescent transgender care is the quality of evidence evaluating the effectiveness

12   of medically necessary gender-affirming medical and surgical treatments,” 31 but WPATH never

13   paused to ask (or answer) how such treatments can be considered “medically necessary” if the

14   “quality of evidence” supporting their use is so deficient. At least some authors tacitly

15   acknowledged the question and made sure they wouldn’t have to answer it—by following the

16   advice of “social justice lawyers” to avoid conducting systematic evidence reviews. 32

17           B.      WPATH Changed Its Treatment Recommendations Based on Political

18                   Concerns.

19           Outside political actors also influenced SOC-8. Most notably, Admiral Levine, the former

20   Assistant Secretary for Health, met regularly with WPATH leaders, “eager to learn when SOC 8

21   25
        Ex.184(Doc.700-13):14.
22   26
        SOC-8, supra note 16, at S177.
     27
23      Ex.180(Doc.700-9):11.
     28
        Id. at 64.
24   29
        Ex.181(Doc.700-10):43.
     30
25      SOC-8, supra note 16, at S18.
     31
        Id. at S45-46.
26   32
        Ex.174(Doc.560-24):1-2.

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 1   might be published.” 33 A few months before SOC-8 was to be published in September 2022 (and

 2   long after the public comment period had closed that January 34), WPATH sent Levine an

 3   “Embargoed Copy – For Your Eyes Only” draft of SOC-8 that had been “completed” and sent to

 4   the publisher for proofreading and typesetting. 35 The draft included a departure from Standards of

 5   Care 7, which, except for so-called “top surgeries,” restricted transitioning surgeries to patients

 6   who had reached the “[a]ge of majority in a given country.” 36 The draft SOC-8 relaxed the age

 7   minimums: 14 for cross-sex hormones, 15 for “chest masculinization” (i.e., mastectomy), 16 for

 8   “breast augmentation, facial surgery (including rhinoplasty, tracheal shave, and genioplasty),” 17

 9   for “metoidioplasty, orchiectomy, vaginoplasty, hysterectomy and fronto-orbital remodeling,” and

10   18 for “phalloplasty.” 37

11          After reviewing the draft, Levine’s office contacted WPATH with a political concern: that

12   the listing of “specific minimum ages for treatment,” “under 18, will result in devastating

13   legislation for trans care.” 38 WPATH leaders met with Levine to discuss the age

14   recommendations. 39 Levine’s solution was simple: “She asked us to remove them.” 40

15          WPATH initially told Levine that it “could not remove [the age minimums] from the

16   document” because the recommendations had already been approved by SOC-8’s “Delphi”

17   consensus process. 41 (Indeed, Dr. Coleman said that consensus was “[t]he only evidence we had”

18   for the recommendations. 42) But, WPATH continued, “we heard your comments regarding the

19
     33
        Ex.184(Doc.700-13):54.
20   34
        See Ex.187(Doc.700-16):4-5.
     35
21      Ex.170(Doc.700-4):61-64.
     36
        Coleman, Standards of Care, Version 7, 13 INT’L J. OF TRANSGENDERISM 1, 25-27 (2012),
22   https://perma.cc/T8J7-W3WC.
     37
23      Ex.170(Doc.700-4):143.
     38
        Ex.186 (Doc.700-15):28.
24   39
        See Ex.186 (Doc.700-15):11, 17; Ex.21(Doc.700-3):287:5–288:6.
     40
25      Ex.186 (Doc.700-15):11.
     41
        Id. at 17.
26   42
        Id. at 57.

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 1   minimal age criteria” and, “[c]onsequently, we have made changes to the SOC8” by downgrading

 2   the age “recommendation” to a “suggestion.” 43 Unsatisfied, Levine immediately requested—and

 3   received—more meetings with WPATH. 44

 4          Following Levine’s intervention, and days before SOC-8 was to be published, pressure

 5   from the American Academy of Pediatrics (AAP) tipped the scales when it threatened to oppose

 6   SOC-8 if WPATH did not remove the age minimums. 45 WPATH leaders initially balked. One of

 7   the co-chairs of SOC-8 complained that “[t]he AAP guidelines … have a very weak methodology,

 8   written by few friends who think the same.” 46 But the political reality soon set in: AAP was “a

 9   MAJOR organization,” and “it would be a major challenge for WPATH” if AAP opposed SOC-

10   8. 47 WPATH thus “remove[d] the ages.” 48

11          That is concerning enough. But perhaps even more worrisome is what the episode reveals.

12   First, it shows that politicians and AAP sought, and WPATH agreed, to make changes in a clinical

13   guideline recommending irreversible sex-change procedures for kids based purely on political

14   considerations. Dr. Coleman was clear in his deposition that WPATH removed the age minimums

15   “without being presented any new science of which the committee was previously unaware.” 49

16           Second, as soon as WPATH made the change, it treated the decision as “highly, highly

17   confidential.” 50 Dr. Bowers encouraged contributors to submit to “centralized authority” so there

18   would not be “differences that can be exposed.” 51 “[O]nce we get out in front of our message,”

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20
     43
21      Id. at 17.
     44
        See Ex.18(Doc.564-8):226:8–229:18; Ex.186 (Doc.700-15):73, 88-91.
22   45
        Ex.187(Doc.700-16):13-14, 109.
     46
23      Id. at 100.
     47
        Id. at 191.
24   48
        Id. at 338.
     49
25      Ex.21(Doc.700-3):293:25–295:16.
     50
        Ex.188(Doc.700-17):152.
26   51
        Ex.177(Doc.700-6):124.

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 1   Bowers urged, “we all need to support and reverberate that message so that the misinformation

 2   drone is drowned out.” 52

 3          Having decided the strategy, Bowers then crafted the message, circulating internally the

 4   “gist of my[] response to Reuters” about the missing age minimums: “[S]ince the open comment

 5   period, a great deal of input has been received and continued to be received until the final release.

 6   [I] feel the final document puts the emphasis back on individualized patient care rather than some

 7   sort of minimal final hurdle that could encourage superficial evaluations and treatments.” 53

 8   Another leader responded: “I like this. Exactly—individualized care is the best care—that’s a

 9   positive message and a strong rationale for the age change.” 54 Apparently, it didn’t matter that the

10   explanation itself was “misinformation”; as Dr. Bowers explained in a similar exchange, “it is a

11   balancing act between what i feel to be true and what we need to say.” 55

12   II.    WPATH Did Not Follow The Principles Of Evidence-Based Medicine It Said It

13          Followed.

14          At the back of SOC-8 is an appendix with the methodology WPATH said it employed. 56 It

15   proclaims that WPATH managed conflicts of interest, used the GRADE framework to tailor

16   recommendation statements based on strength of evidence, and engaged an evidence-review team

17   to conduct systematic literature reviews for SOC-8. 57 Discovery revealed a different story.

18          A.      WPATH Failed to Properly Manage Conflicts of Interest.

19          WPATH cites two standards it said it used to manage conflicts of interest: one from the

20   National Academies of Medicine and the other from the World Health Organization. 58 Both

21   standards generally recognize that the experts best equipped for creating practice guidelines are

22   52
        Id. at 119.
     53
23      Ex.188(Doc.700-17):113.
     54
        Id.
24   55
        Ex.177(Doc.700-6):102.
     56
25      See SOC-8, supra note 16, at S247-51.
     57
        Id.
26   58
        Id. at S247.

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 1   those at arm’s length from the services at issue—sufficiently familiar with the topic, but not

 2   professionally engaged in performing, researching, or advocating for the practices under review. 59

 3          At the same time, the standards recognize that a guideline committee typically benefits

 4   from some involvement by clinicians who provide the services at issue. 60 Accordingly, they

 5   suggest ways for committees to benefit from conflicted clinicians while limiting their involvement.

 6   The standard from the National Academies recommends that “[m]embers with [conflicts of

 7   interest] should represent not more than a minority of the [guideline development group].” 61

 8          WPATH largely ignored these standards. From the get-go, it expressly limited SOC-8

 9   authorship to existing WPATH members—clinicians and other professionals (and non) who were

10   already enthusiastic about transitioning treatments. 62 As Dr. Bowers testified, it was “important

11   for someone to be an advocate for [transitioning] treatments before the guidelines were created.” 63

12          Dr. Bowers’s involvement in SOC-8 offers a good illustration of the lack of real conflict

13   checks. According to the National Academies, a “conflict of interest” is “[a] divergence between

14   an individual’s private interests and his or her professional obligations such that an independent

15   observer might reasonably question whether the individual’s professional actions or decisions are

16   motivated by personal gain, such as financial, academic advancement, clinical revenue streams, or

17   community standing.” 64 Bowers should have been subject to that standard, serving not only as a

18   member of the Board that oversaw and approved SOC-8 but as an author of the chapter tasked

19   with evaluating the evidence for transitioning surgeries.

20

21
     59
22      Id.; Institute of Medicine (National Academies of Medicine), Clinical Practice Guidelines We
     Can Trust 81-93 (2011), https://perma.cc/7SA9-DAUM; World Health Organization, Handbook
23   for Guideline Development 19-23 (2012).
     60
        Institute of Medicine, supra note 59, at 83.
24   61
        Id. (emphasis added).
     62
25      SOC-8, supra note 16, at S248; see Ex.21(Doc.700-3):201:2–223:24.
     63
        Ex.18(Doc.564-8):121:7-11.
26   64
        Institute of Medicine, supra note 59, at 78.

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 1          So it is notable that Bowers made “more than a million dollars” in 2023 from providing

 2   transitioning surgeries, but said it would be “absurd” to consider that a conflict worth disclosing

 3   or otherwise accounting for as part of SOC-8. 65 That was WPATH’s public position as well: It

 4   assured readers that “[n]o conflicts of interest were deemed significant or consequential” in

 5   crafting SOC-8. 66

 6          Privately, WPATH leaders knew everything was not up to par. Dr. Coleman admitted that

 7   “most participants in the SOC-8 process had financial and/or nonfinancial conflicts of interest.” 67

 8   Dr. Robinson, the chair of the evidence-review team, said the same: She “expect[ed] many, if not

 9   most, SOC-8 members to have competing interests.” 68 She even had to inform WPATH—

10   belatedly—that “[d]isclosure, and any necessary management of potential conflicts, should take

11   place prior to the selection of guideline members.” 69 “Unfortunately,” she lamented, “this was not

12   done here.” 70 No matter: SOC-8 proclaims the opposite (“Conflict of interests were reviewed as

13   part of the selection process” 71), and Dr. Coleman testified that he did not know of any author

14   removed from SOC-8 due to a conflict. 72

15          B.      WPATH Was Not Transparent in How It Used GRADE.

16          WPATH boasted that it used a process “adapted from the Grading of Recommendations,

17   Assessment, Development and Evaluations (GRADE) framework” for “developing and presenting

18   summaries of evidence” using a “systematic approach for making clinical practice

19   recommendations.” 73 According to WPATH, Dr. Robinson’s evidence-review team was to

20
     65
21      Ex.18(Doc.564-8):37:1-13, 185:25–186:9.
     66
        SOC-8, supra note 16, at S177.
22   67
        Ex.21(Doc.700-3):230:17-23.
     68
23      Ex.166(Doc.560-16):1.
     69
        Id. (emphasis added).
24   70
        Id.
     71
25      SOC-8, supra note 16, at S177.
     72
        Ex.21(Doc.700-3):232:13-15.
26   73
        SOC-8, supra note 16, at S250.

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 1   conduct systematic evidence reviews, “assign[] evidence grades using the GRADE methodology,”

 2   and “present[] evidence tables and other results of the systematic review” to SOC-8 authors. 74

 3          Chapter authors were then to grade the recommendation statements based on the

 4   evidence. 75 Per WPATH, “strong recommendations”—“we recommend”—were only for

 5   situations where “the evidence is high quality,” “a high degree of certainty [that] effects will be

 6   achieved,” “few downsides,” and “a high degree of acceptance among providers.” 76 On the other

 7   hand, “[w]eak recommendations”—“we suggest”—were for when “there are weaknesses in the

 8   evidence base,” “a degree of doubt about the size of the effect that can be expected,” and “varying

 9   degrees of acceptance among providers.” 77 To “help readers distinguish between

10   recommendations informed by systematic reviews and those not,” recommendations were to “be

11   followed by certainty of evidence for those informed by systematic literature reviews”:

12                  ++++            strong certainty of evidence

13                  +++             moderate certainty of evidence

14                  ++              low certainty of evidence

15                  +               very low certainty of evidence[78]

16          The reality did not match the promise. To begin, as Dr. Coleman wrote, “we were not able

17   to be as systematic as we could have been (e.g., we did not use GRADE explicitly).” 79 Dr. Karasic,

18   the chair of the mental health chapter, testified that rather than relying on systematic reviews, some

19   drafters simply “used authors … we were familiar with.” 80

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21

22   74
        Id. at S249-50.
     75
23      Id. at S250.
     76
        Id.
24   77
        Id.
     78
25      WPATH, Methodology for the Development of SOC8, https://perma.cc/QD95-754H.
     79
        Ex.190(Doc.700-18):8; see Ex.182(Doc.700-11):157-58.
26   80
        Ex.39(Doc.592-39):66:2–67:5.

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 1          WPATH also decided not to differentiate “between statements based on [literature reviews]

 2   and the rest,” 81 and ordered the removal of all notations disclosing the quality of evidence for each

 3   recommendation. A draft of the hormone chapter illustrates the change. The chapter had initially

 4   offered a “weak recommendation” (“we suggest”) based on low-quality evidence (“++”) that

 5   clinicians prescribe cross-sex hormones to gender dysphoric adolescents, “preferably with

 6   parental/guardian consent.” 82

 7          At first, WPATH seemed to just remove the evidence notations. But then the

 8   recommendations themselves appeared to morph from weak (“we suggest”) to strong (“we

 9   recommend”). So it was in the adolescent chapter, where all but one recommendation is now

10   “strong” 83—even as those recommendations are surrounded by admissions that “[a] key challenge

11   in adolescent transgender care is the quality of evidence,” with “the numbers of studies … still [so]

12   low” that “a systematic review regarding outcomes of treatment in adolescents” is purportedly “not

13   possible.” 84 And so it was in the hormone chapter, where the final version of the above statement

14   transformed into a strong “we recommend.” 85

15          While this mismatch may not seem like a big deal, the difference between a “strong” and

16   “weak” recommendation is important, particularly when it comes to life-altering interventions like

17   cross-sex hormones. Under GRADE, “low” or “very-low” quality evidence means, respectively,

18   that the true effect of the medical intervention may, or is likely to be, “substantially different” from

19   the estimate of the effect based on the evidence available. 86 Thus, given that the estimated effect

20   is therefore likely to be wrong for very low-quality evidence, it is imperative for clinicians to know

21   the quality of evidence supporting a treatment recommendation—and why, with certain exceptions

22   81
        Ex.182(Doc.700-11):62; see Ex.9(Doc.700-2):¶¶29-36, 43-47.
     82
23      Ex.182(Doc.700-11):5; see id. at 1-40; Ex.9(Doc.700-2):¶¶29-36, 43-47.
     83
        SOC-8, supra note 16, at S48.
24   84
        Id. at S46-47.
     85
25      Id. at S111.
     86
          Balshem, GRADE Guidelines, 64 J. CLINICAL EPIDEMIOL. 401,                           404    (2011),
26   https://perma.cc/2KDY-6BW5.

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 1   not applicable here, evidence-based medicine warns against “strong” recommendations based on

 2   low-quality evidence. 87 WPATH promised clinicians that it followed this system when it actually

 3   eschewed transparency and made “strong” recommendations regardless of the evidence.

 4          C.      WPATH Hindered Publication of Evidence Reviews.

 5          Though the SOC-8 authors and their advocacy allies didn’t seem to have much use for

 6   them, the Johns Hopkins evidence-review team “completed and submitted reports of reviews

 7   (dozens!) to WPATH” for SOC-8. 88 The results were concerning. In August 2020, the head of the

 8   team, Dr. Robinson, wrote to the Agency for Healthcare Research and Quality at HHS about their

 9   research into “multiple types of interventions (surgical, hormone, voice therapy…).” 89 She

10   reported: “[W]e found little to no evidence about children and adolescents.” 90

11          Dr. Robinson also informed HHS that she was “having issues with this sponsor”—

12   WPATH—“trying to restrict our ability to publish.” 91 Days earlier, WPATH had rejected

13   Robinson’s request to publish two manuscripts because her team failed to comply with WPATH’s

14   policy for using SOC-8 data. 92 Among other things, that policy required the team to seek “final

15   approval” of any article from an SOC-8 leader and then from the WPATH Board of Directors. 93

16          WPATH justified its oversight by reasoning that it was of “paramount” importance “that

17   any publication based on WPATH SOC8 data [be] thoroughly scrutinized and reviewed to ensure

18   that publication does not negatively affect the provision of transgender healthcare in the broadest

19   sense” (as WPATH defined it). 94 But to make the process appear neutral, WPATH imposed one

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     87
21        Yao, Discordant and Inappropriate Discordant Recommendations, BMJ (2021),
     https://perma.cc/W7XN-ZELX.
22   88
        Ex.173 (Doc.560-23):22-25.
     89
23      Id. at 24.
     90
        Id. at 22.
24   91
        Id.
     92
25      Ex.167(Doc.560-17):86-88.
     93
        Id. at 37-38, 75-81.
26   94
        Id. at 91.

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 1   last requirement: Authors had to “acknowledge[]” in their manuscript that they were “solely

 2   responsible for the content of the manuscript, and the manuscript does not necessarily reflect the

 3   view of WPATH.” 95

 4          WPATH eventually allowed the Johns Hopkins team to publish two of its manuscripts.

 5   (It’s still unclear what happened to the others. 96) The team dutifully reported that the “authors”—

 6   not WPATH—were “responsible for all content.” 97

 7                                                   ***

 8          These vignettes are necessarily incomplete. Much, much more could be said. But the point

 9   is simply this: Plaintiffs have come to this Court seeking emergency relief based on a carefully

10   constructed narrative that is, in fact, not true. If, as Plaintiffs say, provision of “gender-affirming

11   care” “is governed by” WPATH’s Standards, Mot.2, it is time for that governance to end.

12                                             CONCLUSION

13          The Court should deny Plaintiffs’ motion.

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24      Id. at 38.
     96
        Cf. Ex.167(Doc.560-17):91.
25   97
        Baker, Hormone Therapy, Mental Health, and Qualify of Life, 5 J. ENDOCRINE SOC’Y 1, 3
     (2021); Wilson, Effects of Antiandrogens on Prolactin Levels Among Transgender Women, 21
26   INT’L J. OF TRANSGENDER HEALTH 391, 392 (2020).

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 1   DATED: February 11, 2025         Respectfully submitted,

 2                                    I certify that this brief contains 4,199 words, in
                                      compliance with the Local Civil Rules. See Local
 3                                    Civil Rule 7(e)(3).
 4
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 1
     I hereby certify that on this 11th day of February 2025, I electronically filed the foregoing
 2

 3   document with the Clerk of the United States District Court using the CM/ECF system

 4   which will send notification of such filing to all parties who are registered with the CM/

 5   ECF system.
 6
                    DATED this 11th day of February 2025.
 7

 8
 9                                                /s/ Brett Rogers
                                                    Brett Rogers
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